It appears to the court that the imprisonment of the petitioner from which he seeks to be discharged was voluntarily submitted to by him for the purpose of presenting in this proceeding the question as to the validity of the order holding him to answer to the superior court for trial, and for that reason the remedy by habeas corpus should not be available to him.
Upon the authority of In re Gow, 139 Cal. 242, [73 P. 1451,Ex parte Schmitz, 150 Cal. 663, [89 P. 438], and Ex parteFord, 160 Cal. 334, [Ann. Cas. 1912D, 1267, 35 *Page 345 
L. R. A. (N. S.) 882, 116 P. 757], it is ordered that the proceeding be and it is hereby dismissed, and petitioner is remanded to the custody of the sheriff.